
*737OPINION.
Love :
Upon the facts, we approve the action of the Commissioner. The Eevenue Act of 1918, which is applicable here, provides in section 214 (a) (7) for the deduction from gross income of debts ascertained to be worthless and charged off within the taxable year, and it is to be observed that both the ascertainment of the worthlessness of the debt and its charge-off within the same taxable year, are conditions precedent to its deduction!
*738It is admitted that the unpaid portion of these notes, amounting to $6,100, was not charged off or deducted on petitioner’s income tax return in 1920, the year in which he claims to have ascertained that they were worthless. Even though he kept no books of account, if in 1920 he knew the notes were worthless he certainly would have indicated such knowledge by claiming a deduction on his return. Therefore, under the provisions of the statute, petitioner is not entitled to the relief which he seeks, even though we were convinced that the notes ultimately became worthless. Under the circumstances, it is of small moment that we believe that the evidence before us is not of sufficient strength to warrant such a conviction on our part, since in any event we must find for the Commissioner under the strict provisions of the statute.

Judgment will be entered for the respondent.

